87 F.3d 1310
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Willie WOODARD, Defendant-Appellant.
    No. 96-6149.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 16, 1996.Decided:  June 5, 1996.
    
      Willie Woodard, Appellant Pro Se.  Gretchen C.F. Shappert, Assistant United States Attorney, Charlotte, North Carolina, for Appellee.
      Before RUSSELL, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.   Appellant asserted claims of ineffective assistance of counsel in addition to challenging the calculation and enhancement of his sentence.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   United States v. Woodard, Nos.  CR-93-42-P;  CA-95-279-3-P (W.D.N.C. Nov. 16, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    